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                                                                 Emergency Ordinance No. 2020-3

 AN EMERGENCY ORDINANCE CONTINUING THE STATE OF EMERGENCY AND
             AUTHORIZING PUBLIC HEALTH MEASURES TO
     PREVENT HARM TO THE PUBLIC DURING THE COVID-19 PANDEMIC

WHEREAS, the City Council has authority to address threats to the public health and safety in
accordance with West Virginia Code sections 8-12-5 paragraphs 23, 40, and 44; and

WHEREAS, the ongoing COVID-19 Pandemic threatens public health in the City; and

WHEREAS, effective March 16, 2020, the Governor of the State of West Virginia has declared a
state of emergency in all fifty-five West Virginia counties as a result of the COVID-19 pandemic;
and

WHEREAS, on March 23, 2020, the Governor of the State of West Virginia issued Executive
Order 9-20, denominated the “Stay at Home” Order, ordering citizens to stay at their residences
unless an exception permitted travel; and

WHEREAS, avoiding large gatherings and limiting close interactions with others outside our
homes, in compliance with guidelines from public health officials and as directed by Executive
Order 9-20 issued by the Governor of the State of West Virginia, were initially effective to limit
the spread of disease and conserve essential medical resources; and

WHEREAS, taking these steps to limit interpersonal interaction has been determined by public
health experts to be essential to avoiding a rapid increase in the spread of COVID-19 infections
that would be likely to overwhelm available health care resources and limit the ability of the health
care system to not only treat victims of COVID-19 but also to treat others with emergent medical
needs; and

WHEREAS, on April 30, 2020, the Governor of the State of West Virginia issued Executive Order
34-20, denominated the “Safer at Home” Order, lifting many of the mandatory restrictions on
travel and gatherings in the Stay at Home Order and providing relaxed restrictions for business
occupancies and the size of social gatherings;

WHEREAS, the Governor of the State of West Virginia issued guidelines and schedules for the
resumption of businesses and other facilities welcoming the public, together with measures
intended to limit the further spread of COVID-19 infections as members of the public enter and
gather at such businesses and facilities, which measures were denominated “West Virginia Strong:
The Comeback”; and

WHEREAS, West Virginia has experienced a substantial increase in the spread of COVID-19
infections since late June and accelerating in early July, and the Governor’s office reported on July
8, 2020 that the rate of spread in West Virginia had climbed to the fourth highest in the nation; and




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WHEREAS, a disproportionate number of new COVID-19 infections in West Virginia have
occurred in Monongalia County, which reported 115 confirmed cases in the week from July 29 to
July 5; and

WHEREAS, the upcoming return of students, faculty, and staff of West Virginia University in
early August will significantly increase the population and population density of the community,
which may lead to increased service needs from the community’s public health system, medical
professionals, and hospitals; and

WHEREAS, on July 6, 2020, Governor Justice issued Executive Order 50-20, as authorized by
West Virginia Code Chapter 15, Article 5, which requires that all individuals age 9 and over within
the State of West Virginia shall wear an adequate face covering when in confined, indoor spaces,
other than when in one’s residence or when actively engaged in the consumption of food and/or
beverage, and when not able to adequately social distance from other individuals who do not reside
in the same household; and

WHEREAS, Governor Justice has stated that he will consider additional measures instituting
specific penalties for violations of the requirement to wear an adequate face covering but has not
imposed such measures at the time of the adoption of this Ordinance; and

WHEREAS, West Virginia Code Chapter 15, Article 5, Section 18 provides that “A peace officer,
when in uniform or displaying a badge or other insignia of authority, may arrest without a warrant
any person violating or attempting to violate in such officer's presence any order, rule or regulation
made pursuant to this article. This authority shall be limited to arrest for violations of those orders,
rules and regulations which affect the public generally.”; and

WHEREAS, as noted in Executive Order 50-20, West Virginia’s public health experts have
advised that mandating the use of face coverings when in confined indoor spaces is appropriate to
combat the spread of COVID-19 infections; and

WHEREAS, national and public health experts also recommend wearing face coverings in public
as an important public health measure to prevent the spread of COVID-19 infections; and

WHEREAS, as of June 28, 2020, the United States Centers for Disease Control and Prevention
(“CDC”) posted a public message on its website indicating that COVID-19 infections mainly
spread through airborne respiratory droplets and the wearing face coverings will reduce infections;
and

WHEREAS, CDC’s full statements reads as follows: “COVID-19 spreads mainly from person to
person through respiratory droplets produced when an infected person coughs, sneezes, talks, or
raises their voice (e.g., while shouting, chanting, or singing). These droplets can land in the mouths
or noses of people who are nearby or possibly be inhaled into the lungs. Recent studies show that
a significant portion of individuals with COVID-19 lack symptoms (are “asymptomatic”) and that
even those who eventually develop symptoms (are “pre-symptomatic”) can transmit the virus to
others before showing symptoms. To reduce the spread of COVID-19, CDC recommends that
people wear cloth face coverings in public settings when around people outside of their household,



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especially when other social distancing measures are difficult to maintain.”
(https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/about-face-coverings.html)
(last visited July 9, 2020); and

WHEREAS, City Council finds and determines that public health measures including required
face coverings, limitations on the size of group gatherings, and maintaining physical distance
among individuals are effective and necessary means to ensure that all members of the public are
protected to the greatest extent practicable from the effects of the ongoing COVID-19 pandemic;
and

WHEREAS, West Virginia Code Chapter 8, Article 11, Section 3(d) provides that City Council
may enact an emergency ordinance without following the ordinary procedures prescribed by law
in the case of a pressing public emergency making action under the ordinary procedure dangerous
to the public health, safety or morals, and by affirmative vote of two thirds of the members of
Council; and

WHEREAS, the nature of any emergency justifying adoption of an emergency ordinance must be
set out in full in the ordinance; and

WHEREAS, the ongoing spread of the COVID-19 pandemic and the threat that the pandemic will
deny individuals necessary health care resources and increase job and wage losses if measures are
not promptly taken to limit public gatherings and interactions that spread the disease as well as to
promote safe public interactions with adequate face coverings create a pressing public emergency
justifying adoption of this emergency ordinance; and

WHEREAS, West Virginia Code Chapter 8, Article 11, Section 2 authorizes delegation of duties
by Council to an officer when it would be impracticable to lay down by ordinance for all cases a
uniform guide for exercising such discretion; and

WHEREAS, the nature of the COVID-19 pandemic requires discretion to respond to the
developing spread of the disease such that discretion to employ the specific emergency measures
authorized by this Ordinance must be delegated to an officer of the City; and

WHEREAS, the ongoing spread of the COVID-19 pandemic and the state and federal guidelines
providing for the resumption of public gatherings and reopening of businesses and facilities
welcoming the public create a pressing public need to respond to renewed activity by altering local
laws and regulations to promote outdoor activity, appropriate face coverings, and physical
distancing to limit the further spread of COVID-19 infections, and this pressing public need
justifies adoption of this emergency ordinance; and

NOW, THEREFORE, The City of Morgantown hereby ordains the following:




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           Article I. Continuation of Declaration of Emergency; Authority of City Manager;
                                      Implementation of Authority

SECTION 1. The Governor of the State of West Virginia declared a state of emergency in all
fifty-five counties in West Virginia effective March 16, 2020 due to the ongoing COVID-19
pandemic. The state of emergency remains in effect as of the date of adoption of this ordinance.

SECTION 2. The City of Morgantown recognizes the declared state of emergency as effective
within the City and hereby declares that such state of emergency shall continue within the City
until the declaration of a state of emergency is terminated by the Governor. The City of
Morgantown recognized and declared the state of emergency in the City under Emergency
Ordinance 2020-1, which ordinance was made effective for a period of ninety (90) days and the
provisions of which would expire without further action. The City of Morgantown extended the
declaration of a state of emergency to September 25, 2020 in Emergency Ordinance No. 2020-2.
The state of emergency in the City and the authorities enacted within Emergency Ordinances 2020-
1and 2020-2 are hereby continued in effect until they expire pursuant to the terms of this
Ordinance, except as they may be modified or supplemented by this Emergency Ordinance No.
2020-3.

SECTION 3. In accordance with West Virginia Code Chapter 15, Article 5, Section 8, each
political subdivision in which any disaster as described in W. Va. Code § 15-5-1 occurs shall have
the power to enter into contracts and incur obligations necessary to combat such disaster, protect
the health and safety of persons and property and provide emergency assistance to the victims of
such disaster. Each political subdivision is authorized to exercise its powers under this section in
light of the exigencies of extreme emergency situations without regard to time-consuming
procedures and formalities prescribed by law (excepting mandatory constitutional requirements)
pertaining to the performance of public work, entry into contracts, incurring of obligations,
employment of temporary workers, rental of equipment, purchase of supplies and materials,
levying of taxes and appropriation and expenditure of public funds.

SECTION 4. The City Manager is hereby authorized and directed to exercise these authorities,
with the advice and direction of Council, to combat the COVID-19 pandemic giving rise to the
above-referenced declaration of a state of emergency by the Governor.

SECTION 5. During the effective period of this Ordinance, the City Manager is authorized and
directed to implement all appropriate and necessary measures authorized by this Ordinance to
address the COVID-19 pandemic, consistent with the advice and direction of City Council.

SECTION 6. Prior to implementing any such authority or authorities, the City Manager shall
adopt a written order identifying the authority to be employed and the means to be used in
employing the authority, and the written order shall be delivered to each member of City Council,
to the City Clerk, who shall keep a record of such order, and shall be made available to the public.

SECTION 7. The restrictions established by this Ordinance, shall apply only upon issuance of a
written order of the City Manager pursuant to Section 6 of this Article, and only to the extent stated




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therein; provided that the suspension of inspections adopted in Article IV of this Ordinance shall
become effective immediately without action of the City Manager.


                                   Article II. Required face coverings

SECTION 1.                 ADEQUATE FACE COVERING REQUIRED.

        (a)    The City Manager may order, pursuant to Article I of this Ordinance, that all
individuals age 9 and over within the City of Morgantown shall wear an adequate face covering
when in confined, indoor spaces, other than when in one’s residence or when actively engaged in
the consumption of food and/or beverage, and when not able to adequately social distance from
other individuals who do not reside in the same household. The requirement of this Section 1 shall
be construed in a manner consistent with the requirements of Executive Order 50-20 issued by the
Governor of the State of West Virginia issued July 6, 2020, except as otherwise expressly provided
herein.

       (b)          The following individuals are exempt from the requirement to wear adequate face
coverings:
                   (i)      Persons younger than nine years old. Very young children under age two
           must not wear a face covering because of the risk of suffocation.
                   (ii) Persons with a medical condition, mental health condition, or disability that
           prevents wearing a face covering. This includes persons with a medical condition for whom
           wearing a face covering could obstruct breathing or who are unconscious, incapacitated, or
           otherwise unable to remove a face covering without assistance.
                   (iii) Persons who are hearing impaired, or communicating with a person who is
           hearing impaired, where the ability to see the mouth is essential for communication.
                   (iv) Persons for whom wearing a face covering would create a risk to the person
           related to their work, as determined by local, state, or federal regulators or workplace safety
           guidelines.
                   (v) Persons who are obtaining a service involving the nose or face for which
           temporary removal of the face covering is necessary to perform the service.
                   (vi) Persons who are seated at a restaurant or other establishment that offers food
           or beverage service, while they are eating or drinking, provided that they are able to
           maintain a distance of at least six feet away from persons who are not members of the same
           household or residence.

SECTION 2.                 DEFINITIONS.

The following terms shall have the meanings given for purposes of this Article III entitled
“Required face coverings”:

Face covering means any material or device worn so that it fully covers the nose and mouth
including cloth masks, bandanas or handkerchiefs, face shields, and dust mask.




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Adequately social distance means maintaining physical separation of at least six feet between
oneself and any other person.

SECTION 3.             PENALTY.

Any violation of this Article II shall be deemed a public nuisance subject to summary abatement
by the Chief of Police or other law enforcement officer. In addition, any violation shall be a
misdemeanor punishable by a fine of no less than $25.00 and no more than $500.00. Each day a
violation continues shall constitute a separate violation.

                          Article III. Restrictions on outbreak locations.

SECTION 1. REQUIRED CLOSURES OF OUTBREAK SITES

(a)    Any business that serves the public, that is identified by the Monongalia County Health
Department or its agents (the “Health Department”) as having three new cases of Covid-19 in staff
and/or patrons will be required to close and do a deep clean as prescribed by the Health
Department. The location may reopen only following an inspection by the Health Department and
authorization to reopen issued by the Health Department.

(b)    At any business where an additional three individuals are diagnosed with Covid-19 after
the reopening, the site will again be required to close, undergo another deep cleaning, and be
quarantined for 14 days. The location may reopen only following an inspection by the Health
Department and authorization to reopen issued by the Health Department.

(c)      At any business where another three individuals are diagnosed with Covid-19 at the same
site, following quarantine and second reopening, then that business will remain closed until such
a time as deemed safe by the Health Officer of the Health Department.

SECTION 2. DEFINITIONS

In this Article, the following terms shall have the meanings given

Business or business that serves the public means any physical location open to entry by members
of the general public, whether activity conducted at the location is undertaken for profit or not for
profit and any facility licensed or inspected by the Health Department.

Health Department means the Monongalia County Health Department, acting through its duly
authorized agents, employees, and officers.

Health Officer means the County Health Officer supervising the Health Department, and is
intended to have the same meaning as the term defined in W. Va. Code § 16-2-2(o).




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